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     9

    10                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
    11                              IN THE COUNTY OF LOS ANGELES
    12

    13

    14 LINDA HALL, individually and on
         behalf of all others similarly situated,         CASE NO.: 8:19-cv-1153-AG-ADs
    15
                           Plaintiff,
    16                                                    Hon. Andrew J. Guilford
                  v.
    17                                                    PLAINTIFF’S OPPOSITION TO
       TIME, INC., a Delaware corporation;
    18 MEREDITY CORP., an Iowa                            TIME, INC.’S AND MEREDITH
       corporation; and DOES 1-100,                       CORP.’S MOTION TO DISMISS
    19 inclusive,                                         CLASS ACTION COMPLAINT
    20                     Defendants.
                                                          DATE: September 23, 2019
    21                                                    TIME: 10:00 a.m.
    22                                                    DEPT: Courtroom 10D
    23

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     1 I.         INTRODUCTION
     2            Defendants’ attempt to equate the purchase of a magazine
     3 subscription to consent to automatic renewal of that

     4 subscription; which was the very practice that Cal. Business and

     5 Professions Code section 17602 was meant to outlaw.

     6            Although the defendants’ advertisements include statements
     7 regarding automatic renewals, those statements are

     8 inconspicuous and mixed in with other extraneous matters (such

     9 as offers for other subscriptions). Although defendants’ practices

    10 provided for a customer to subscribe to a magazine, the

    11 defendants did not include a means by which a customer was

    12 asked to consent to automatic renewal.

    13            Before a business can automatically renew a customer’s
    14 subscription to a magazine, the business must first provide the

    15 customer with an offer of automatic renewal in a “clear and

    16 conspicuous manner” and the business must then “request” and

    17 “obtain” the customer’s “affirmative consent” to the clear and

    18 conspicuous offer. (Bus. & Prof. Code § 17602(a)(1) & (2).

    19            It is “unlawful” for the business to charge the customer’s
    20 credit, debit or third-party account if the business does not also

    21 obtain the customer’s “explicit” and “affirmative consent” to the

    22 automatic renewal offer – not just consent to purchase the

    23 subscription to begin with. (Bus. & Prof. Code §§ 17600 &

    24 17602(a)(2) (italics added).) Additionally, an automatic renewal is

    25 “unlawful” if the automatic renewal offer was not presented in a

    26 “clear and conspicuous manner . . . and in visual proximity . . . to

    27 the request for consent to the offer.” (Bus. & Prof. Code §

    28 17602(a)(1).)

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     1            Here, as established by allegations of Hall’s complaint, and
     2 reflected by shown by the exhibits – screen shots taken at the

     3 time of drafting the complaint – Hall’s “affirmative consent” to an

     4 automatic renewal was not requested or obtained and her

     5 account was therefore unlawfully debited for a renewal.

     6            The defendants attack Hall’s theory of the case arguing that
     7 the automatic renewal offer is statutorily compliant and, in

     8 essence, that Hall’s consent to defendants’ offer is implied or

     9 inferred from her response to the defendants’ offer of an initial

    10 subscription. There is no merit to such an argument because

    11 “explicit” and “affirmative consent” is statutorily mandated.

    12            Hall’s complaint includes claims for violation of California’s
    13 Unfair Competition Law (UCL), violation of California Penal Code

    14 section 496 and Conversion.

    15            For reasons that will be further explained, the motion to
    16 dismiss should be denied.

    17 II.        DEFENDANTS’ AUTOMATIC RENEWAL PROGRAM IS
    18            UNLAWFUL AND HALL’S UCL CLAIMS ARE PLAUSIBLE
    19            A.       Failure to obtain explicit and Affirmative Consent
    20            In enacting the ARL, the Legislature’s stated intent was to
    21 “end the practice of ongoing charging” of credit or debit cards

    22 “without the consumer’s explicit consent.” (Bus. & Prof. Code §

    23 17600, italics added.) Accordingly, in addition to other

    24 requirements, the ARL requires a business to “request” and

    25 obtain the “consumer’s affirmative consent to the agreement

    26 containing the automatic renewal offer terms.” (Bus. & Prof. Code

    27 § 17602(a)(1) & (2), italics added.)

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     1            Here, the defendants’ automatic renewal practice did not,
     2 and still does not, seek or require the customer’s affirmative

     3 consent. It is therefore “unlawful” pursuant to section 17602(a).

     4            Defendants’ argument that Hall’s affirmative consent was
     5 obtained when Hall clicked the “Checkout Now” and “Submit

     6 Offer” buttons is, at its core, an argument based on implied or

     7 inferential consent contrary to the statutory intent and mandate

     8 of requesting and obtaining explicit and affirmative consent.

     9 Defendants’ argument disregards section 17602 and attempts to

    10 equate subscribing to a magazine and also agreeing to automatic

    11 renewal of that subscription.

    12            Affirm means to “state positively” and explicit is
    13 “characterized by full, clear expression leaving nothing implied”

    14 with “no need for the reader or hearer to infer.” (Webster’s New

    15 3rd World Dictionary.) By contrast, implicit is defined as “capable

    16 of being understood from something else, although unexpressed.”

    17 (Ibid.) “Express consent is that directly given, either viva voce or

    18 in writing. Implied consent is that manifested by signs, actions,

    19 or facts, or by inaction or silence, from which arises an inference

    20 that the consent has been given.” Wade v. Southwest Bank, 211

    21 Cal.App.2d 392, 406 (1962), italics original. [Citing Bouvier’s Law

    22 Dictionary.]

    23                     1.       The defendants’ “checkout now” argument
    24                              lacks merit.
    25            The automatic renewal offer and checkout now box appear
    26 as follows:

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     1        X                  People Magazine Subscription
     2                                             www.magazine.store
                       All magazine subscriptions will automatically renew annually.
     3

     4
                                                   checkout now
     5

     6            Defendants contend that this feature satisfies the
     7 requirements of the ARL because “a user such as Hall cannot

     8 proceed to purchase a subscription without affirmatively clicking

     9 the ‘checkout now’ button on this screen directly beneath the

    10 auto-renewal disclosure.” (MTD p. 4:1-13.)

    11            Their contention is wrong.
    12            It is true that an initial subscription cannot be purchased
    13 without clicking the “checkout now” button but the “checkout

    14 now” button does not require the purchaser’s explicit and

    15 affirmative consent to automatic renewals after the initial

    16 subscription ends as required by the ARL.

    17            For example, the checkout now box does not tell the
    18 consumer affirmatively or explicitly that by clicking the checkout

    19 now box, they are consenting to automatic renewals. And, the

    20 automatic renewal language above the checkout now box, does

    21 not include any language, feature or mechanism which requests

    22 and obtains the consumer’s affirmative consent to automatic

    23 renewals.

    24            Apart from the lack of affirmative consent, the “checkout
    25 now” box also fails to satisfy the requirements of the ARL for the

    26 seller to “request for consent” for automatic renewal, fails to

    27 satisfy the five elements of disclosure required, and is not “clear

    28 and conspicuous.”

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     1            There is no “request for consent to the offer” as required by
     2 section 17602(a)(1). “Checkout now” is not a request for consent

     3 to the automatic renewal. The checkout was for the purchase of

     4 the magazine subscription itself.

     5            The “automatic renewal offer terms” preceding the checkout
     6 now box do not comply with the requirements of section 17601(b)

     7 to for “Automatic renewal offer terms” to be “clear and

     8 conspicuous disclosures” of five things that are missing from

     9 defendants advertisement:

    10                     (1) That the subscription or purchasing agreement will
    11            continue until the consumer cancels.
    12                     (2) The description of the cancellation policy that
    13            applies to the offer.
    14                     (3) The recurring charges that will be charged to the
    15            consumer’s credit or debit card or payment account with a
    16            third party as part of the automatic renewal plan or
    17            arrangement, and that the amount of the charge may
    18            change, if that is the case, and the amount to which the
    19            charge will change, if known.
    20                     (4) The length of the automatic renewal term or that
    21            the service is continuous, unless the length of the term is
    22            chosen by the consumer.
    23                     (5) The minimum purchase obligation, if any.
    24            The language used by defendants (“All magazine
    25 subscriptions will automatically renew annually”) does not tell the

    26 customer that the onus is on the customer to cancel and that

    27 until the customer does so, the subscription will continue. (§

    28 17601(b)(1).) Nor is there a “description of the cancellation

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     1 policy” (§ 17601(b)(2)) or the “recurring charges that will be

     2 charged to the customer’s credit or debit card . . . .” (§

     3 17601(b)(3)). Nor is there an adequate description of the “length

     4 of the automatic renewal term . . . .” as required by section (b)(4)

     5 because the true “length” is that the subscription will continue

     6 forever unless cancelled by the customer.

     7            The automatic renewal language used by defendants also
     8 violates the “clear and conspicuous” requirement in section

     9 17602(a)(1) as those terms are defined in section 17601(c):

    10 “‘Clear and conspicuous’ or ‘clearly and conspicuously’ means in

    11 larger type than the surrounding text, or in contrasting type, font,

    12 or color to the surrounding text of the same size, or set off from

    13 the surrounding text of the same size by symbols or other marks,

    14 in a manner that clearly calls attention to the language.” Here,

    15 the type is not larger than the surrounding text and, the color

    16 contrast is the “checkout now” box rather than the automatic

    17 renewal language.

    18                     2.       The defendants’ “submit order” argument
    19                              lacks merit.
    20            Defendants alternatively argue that the “Automatic Renewal
    21 Notice” satisfies the mandatory requirements of the ARL. The

    22 “Notice” reads:

    23 ///

    24 ///

    25 ///

    26 ///

    27 ///

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     1        X                  People Magazine Subscription
     2                                             www.magazine .store
     3
                        Automatic Renewa I Notice: After your initial
     4
                        term. your magazine subscriptions will automatically
     5                  renew annually until you tell us to stop. You will
     6                  receive a reminder of the renewal approximately 30
     7                  days in advance. Your credit card or method of
                        payment will be charged at the time of purchase,
     8
                        and before the start of each new annual term. at the
     9                  rate stated in the notice. You can contact customer
    10                  service or cancel. at any
    11                  tim e.

    12

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    19

    20                                     I. REVIEW YOUR ORDER:
    21
                    • 40 Issuesof PEOPLE (Print)                                $40.00
    22

    23                                                              II.   SUBTOTAL
                                                                                 : $ 40.00
    24

    25            This notice does not satisfy the requirements of the ARL for
    26 numerous reasons:

    27            1.       There is no “request for consent to the offer” as
    28 required by section 17602(a)(1).

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     1            2.       There is no “affirmative consent” obtained as required
     2 by section 17602(a)(2).

     3            3.       Even if the “submit offer” button could be construed as
     4 an affirmative consent mechanism, it would still violate the ARL

     5 because it is not “in visual proximity” to the defendants’ “Notice.”

     6 The “submit order” button is separated from the “Notice” by the

     7 prominent “SPECIAL INTRODUCTORY OFFER” and after that,

     8 “REVIEW YOUR ORDER.”

     9            4.       The notice does not describe the cancellation policy as
    10 required by section 17601(b)(2). Omitted from the description is

    11 the defendants’ policy on cancellation to keep the money for

    12 magazines delivered to the customer prior to cancellation contrary

    13 to the “unconditional gift” provision in section 17603.

    14            5.       The notice is not clear and conspicuous as those terms
    15 are defined in section 17601(c). The type is smaller than the

    16 typeset for the “SPECIAL INTRODUCTORY OFFER” and although

    17 the automatic renewal language is set against a yellow

    18 background, there is no contrasting color compared to the type

    19 size and color in the “SPECIAL INTRODUCTORY OFFER.”

    20            6.       The only request for affirmative consent requested in
    21 defendants’ solicitation is contained in the “SPECIAL

    22 INTRODUCTORY OFFER” to purchase “AllRecipes” magazine

    23 which “Includes auto renewal,” and requires the consumer to

    24 check a box to order the additional subscription and its

    25 automatic renewal.

    26                     3.       The defendants’ “terms of service” argument.
    27            Defendants argue “[t]hat the phrase ‘terms of service’ in
    28 “shaded blue” suggests that it hyperlinks to another page not

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     1 included in Hall’s exhibits.” (Doc. 16, 4:27-5:1-2.)

     2            However, although defendants are undoubtedly aware of
     3 what their own hyperlink says, defendants do not say what

     4 information the hyperlink provides.

     5            Further, defendants do not argue how, if at all, the
     6 hyperlink can defeat Hall’s claims, perhaps because in Nguyen v.

     7 Barnes & Noble, Inc., 763 F.3d 1171 (9th Cir. 2014), the Court

     8 concluded that browsewrap hyperlinks are unenforceable: “in

     9 keeping with courts’ traditional reluctance to enforce browsewrap

    10 agreements against individual consumers, we therefore hold that

    11 where a website makes its terms of use available via a

    12 conspicuous hyperlink on every page of the website but otherwise

    13 provides no notice to users nor prompts them to take any

    14 affirmative action to demonstrate assent, even close proximity of

    15 the hyperlink to relevant buttons users must click on – without

    16 more – is insufficient to give rise to constructive notice.”                     Id. at
    17 1178-1179 .

    18                     4.       Defendants know how to obtain the
    19                              consumers’ consent when defendants want to
    20                              do so.
    21            Defendants’ automatic renewal offer in the initial
    22 subscription offer is set up to automatically enroll the consumer

    23 in defendants’ automatic renewal program without requesting or

    24 obtaining the consumers’ affirmative consent.

    25            The consumer has no way to acknowledge or specify I want
    26 in or I want out, unlike the other options throughout the

    27 defendants’ initial subscription offer including the options to

    28 accept or reject by checkboxes “GIFT OPTIONS” and a “SPECIAL”

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     1 offer to purchase an additional magazine which “Includes auto

     2 renewal.”

     3            Although unnecessary at this stage of the proceedings, a
     4 reasonable inference can be drawn that defendants do not want

     5 consumers to be able to opt out of an automatic renewal but, at

     6 the same time, defendants do not want to make an automatic

     7 renewal offer automatic because defendants then risk the

     8 consumer declining the initial subscription offer.

     9            Therefore, contrary to the features associated with other
    10 options in the initial solicitation, the defendants ignore the

    11 requirements of the ARL and contend that the “checkout now”

    12 and “submit order” checkboxes are ARL compliant thinking,

    13 perhaps, their only downside may be to give the money back..

    14 III.       HALL HAS STANDING TO ASSERT HER UCL CLAIMS
    15            Defendants argue that Hall does not have standing because
    16 she does not allege “but for” causation or reliance. (Doc. 16, 10-

    17 13.) The argument has no merit because Hall alleges a violation

    18 of only the unlawful or unfair prongs of the UCL; Hall does not

    19 allege a violation of the fraud prong of the UCL.

    20            In Johnson v. Pluralsight, LLC, 728 Fed. Appx. 674, (9th Cir.
    21 2018), the Court addressed the issue of standing to assert a

    22 violation of the ARL or UCL, concluding a plaintiff “sufficiently

    23 alleged an injury in fact,” by “alleged monetary harm in the form of

    24 unlawfully retained subscriptions payments by Pluralsight,” based

    25 upon violating § 17602’s requirements, “including failing to provide

    26 information on cancellation policies prior to charging his credit card,

    27 Pluralsight transformed its subscriptions into unconditional gifts

    28 pursuant to section 17603.” Id. at 675-676.                    “Accordingly,

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     1 Pluralsight was not entitled to charge customers such as Johnson

     2 for the service. Johnson has thus alleged a concrete economic injury

     3 as opposed to a bare procedural violation—that is both

     4 particularized and actual in nature. [Citation.] This is sufficient to

     5 satisfy Article III’s injury-in-fact requirements” (and of the UCL).

     6 Ibid.

     7            Accordingly, Hall has standing and, moreover, because Hall
     8 has alleged only unlawful and unfair conduct, she does not need

     9 to allege causation or reliance.

    10            Such reliance and causation arguments were raised in
    11 Kissel v. Code 42 Software, Inc., No. SACV 15-1936-JLS (KESx)

    12 2016 WL 7647691 at *8 (C.D. Cal. April 14, 2016), explaining that

    13 the “concept of reliance may not apply to UCL claims that do not

    14 sound in fraud.” Ibid.; citing, inter alia, In re Tobacco II Cases, 46

    15 Cal.4th 298, 325 n.17 (2009).                “[C]ourts have used a relaxed
    16 causation standard where a UCL claim does not sound in fraud.”

    17 Ibid.

    18            Further, a complaint, adequately alleges causation if a
    19 plaintiff “alleges that she purchased a subscription plan from

    20 Defendant during the Class Period but that Defendant failed to (a)

    21 present the automatic renewal offer terms in a clear and

    22 conspicuous manner, (b) obtain affirmative consent before

    23 fulfilling the subscription, or (c) provide an acknowledgment as

    24 required by law.” Because the defendant charged and continues

    25 to charge “without having first complied with the ARL,” a plaintiff

    26 has “suffered an economic injury as a result of Defendant’s

    27 unlawful or unfair practices as to its automatic renewal or

    28 continuous service agreements. These allegations of causation are

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     1 sufficient to confer standing at the pleading stage.” Ibid.; citing

     2 Backus v. Gen. Mills, 122 F. Supp. 3d 909, 925-926 (N.D. Cal.

     3 2015).

     4            Other district courts have reached the same conclusion:
     5 Kane v. Chobani, No. 12-CV-02425-LHK 2013 WL 528925 (N.D.

     6 Cal. Sept. 19, 2013). In reaching her conclusion in Kane, Judge

     7 Koh cited Durell which is cited by defendants to support their

     8 contention that reliance is required. (MTD p. 11:16-19.)

     9 However, as explained by Judge Koh, reliance is not required

    10 unless the unlawful conduct is based on fraud and here it is

    11 based on the ARL. (Accord, In re Coca-Cola Prods. Mktg & Sales

    12 Practices Litig II, No. 14-md-02555-JSW 2016 U.S. Dist. LEXIS

    13 66266 at *12 (N.D. Cal. May 19, 2016) [“[A] plaintiff must

    14 establish reliance under the unlawful and unfair prongs where,

    15 as here, the gravamen of the claim is based on alleged

    16 misrepresentation.

    17            As the Ninth Circuit Court of Appeal similarly observed in
    18 Sateriale v. R.J. Reynolds Tobacco Co., 697 F.3d 777, 793 (9th Cir.

    19 2012): “Because the plaintiffs’ UCL claim sounds in fraud, they

    20 are required to prove ‘actual reliance on the allegedly deceptive or

    21 misleading statements’ [citations] and that ‘the misrepresentation

    22 was an immediate cause of [their] injury-producing conduct.’

    23 [Citation.]

    24            In support of their standing argument, defendants cite Roz
    25 v. Nestle Waters N. Am., Inc. No. 2:16-cv-04418-SVW-JEM, 2017

    26 WL 6942661, at *4 (C.D. Cal. Dec. 6, 2017) for the proposition

    27 that “UCL’s causation requirement in context of alleged ARL

    28 violation demands that plaintiff plead and prove that defendants’

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     1 ‘nondisclosure was an immediate cause of the plaintiff’s injury-

     2 producing conduct’ (citation omitted).” (MTD p. 12:11-16.)

     3            However, defendants have misread Roz, which states that
     4 for a violation of § 17603, “when delivering a product to a

     5 consumer, that consumer has no obligation to pay the business

     6 for the product because it is deemed a gift. If indeed the

     7 Defendant violated CAPRS, as is alleged in the SAC, the Plaintiffs

     8 were entitled to keep any products that were delivered as the

     9 result of the unlawful automatic renewal plan, per § 17603. The

    10 statute specifically places no conditions on these gifts, meaning

    11 that the product is considered a gift whether or not the Plaintiffs

    12 can show they did not actually want the product. As a result, the

    13 Plaintiffs were entitled to keep the delivered water products and

    14 had no obligation to pay for them. When the Defendant collected

    15 money from the Plaintiffs that it was not owed by charging their

    16 debit or credit cards, the Plaintiffs were undoubtedly injured and

    17 lost money as the result of the Defendant’s actions. Being forced

    18 to pay money for what should be considered a gift must qualify as

    19 an injury.” Ibid.

    20            The same result was reached in Lopez v. Stages of Beauty,
    21 LLC, 307 F.Supp.3d 1058, 1069-1070 (S.D. Cal. 2018): “Plaintiff

    22 has properly alleged that he suffered an injury in fact that was

    23 caused by Defendant’s actions, and therefore meets the standing

    24 requirements of the UCL and Article III. Plaintiff has alleged that

    25 all products received from Defendant in violation of the ARL

    26 constitute unconditional gifts and, therefore, Plaintiff seeks

    27 restitution in the amount of the subscription payments. Under

    28 the UCL, ‘[t]he court may make such orders or judgments . . . as

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     1 may be necessary to restore to any person in interest any money

     2 or property . . . acquired by means of such unfair competition.’”

     3 IV.        HALL’S PENAL CODE CLAIM IS PLAUSIBLE.
     4            A.       Defendants’ “specific intent” argument has no
     5                     merit.
     6            Defendants argue that “Hall does not allege that defendants
     7 knew they were violating the ARL, which is the only way they

     8 could have known that the payments she voluntarily made were

     9 somehow ‘stolen’ from her when they received them.” (MTD p.

    10 14:12-14.)

    11            Defendants’ argument is incorrect. First, Hall does allege
    12 that the defendants knew they were violating the law. (Cp. ¶ 52.)

    13 Second, intent to defraud “‘may be and usually must be, inferred

    14 circumstantially.’ [Citation.]” Perry v. Superior Court, Cal.2d 276,

    15 285 (1962). Third, “intent [and] knowledge . . . may be alleged

    16 generally.” Fed. R. Civ. P. 9(b). And fourth, Hall did not need to

    17 allege defendants “knew they were violating the ARL . . . .” “It was

    18 established long ago that ignorance of the law does not excuse

    19 one from the consequences of the law.” Arthur Anderson v.

    20 Superior Court, 67 Cal.App.4th 1481, 1506-1507 (1998).

    21            Hall has alleged that defendants had actual or constructive
    22 knowledge of the ARL and despite their knowledge, defendants

    23 both obtained, and in some cases also refused to return, money

    24 that was unlawfully obtained.

    25            B.       The cases cited by defendants are unpersuasive.
    26            Ad Trader, Inc. v. Google, LLC does not defeat Hall’s claim
    27 because defendants do not address the court’s entire analysis,

    28 which observed that while “receiving money through false

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     1 misrepresentation may constitute theft,” that Google had avoided

     2 such liability for other reasons, as it “received advertisement fees

     3 based on advertisement impressions” and there was “no

     4 allegation that Google fabricated the number of impressions, and

     5 Plaintiffs do not represent that they rely on such a theory.”                        Id.,
     6 17-CV-07082-BLF 2018 WL 3428525, at *9, italics added (N.D.

     7 Cal. July 13, 2018).

     8            Here, unlike in Google, defendants did not lawfully receive
     9 money pursuant to a lawful mutual agreement. The automatic

    10 renewal was unlawful at inception.

    11            MMM Holdings, Inc. v. Reich, 21 Cal.App.5th 167 (2018) also
    12 fails to support defendants’ argument. MMM Holdings sued

    13 attorney Reich for distributing documents obtained in qui tam

    14 litigation to other attorneys for their use in related cases. There

    15 was no unlawful conduct pursuant to a statute or false pretense

    16 employed to obtain the documents.

    17            And last, People v. Hartley, 248 Cal.App.4th 620, 627 (2016)
    18 does not assist defendants because, as explained therein, in

    19 determining whether “a false pretense was made” the

    20 ‘circumstances connected with the transaction [and] the entire

    21 conduct of the defendant . . . may be looked to . . . .’ [Citation.]”

    22            Here, looking at the entire conduct of the defendants, Hall
    23 has pled a plausible claim that defendants, knowing their

    24 conduct was unlawful, put their customers into automatic

    25 renewals without their consent, unlawfully debited their accounts

    26 and, in some cases, refused to return their money, all under the

    27 unlawful pretense that the money was lawfully owed.

    28 ///

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     1            C.       Defendants omit cases which support Hall’s claim.
     2            In Allure Labs, Inc. v. Markushevska (2019) No. 19-CV-
     3 00066-LHK 2019 WL 3231012 at *8-9 (N.D. Cal. July 18, 2019)

     4 the court concluded that a claim for civil theft could be based on

     5 “falsified invoices,” and liability under Cal. Penal Code section

     6 496(a): “Every single California case this Court has reviewed

     7 interprets § 496(a) to require nothing more than the following

     8 three elements be met to establish a violation of § 496(a): “(a) the

     9 property was stolen, and (b) the defendant was in possession of it,

    10 (c) knowing it was stolen.” “Moreover, as to § 496(c), the

    11 California Court of Appeal explicitly held that “the language of

    12 section 496(c) is clear and unambiguous.” Switzer v. Wood, 35

    13 Cal.App.5th 116, 126, 247 Cal.Rptr.3d 114 (2019). “All that is

    14 required for civil liability to attach under section 496(c), including

    15 entitlement to treble damages, is that a ‘violation’ of subdivision

    16 (a) . . . of section 496 is found to have occurred.” Id. at 121. “A

    17 violation may be found to have occurred if the person engaged in

    18 the conduct described in the statute” under § 496(a). Id.

    19            Switzer v. Woods, 35 Cal.App.5th 116 (2019), discusses
    20 Allure Labs, concluding: “The language of section 496(c) is clear

    21 and unambiguous. All that is required for civil liability to attach

    22 under section 496(c), including entitlement to treble damages, is

    23 that a ‘violation’ of subdivision (a) or (b) of section 496 is found to

    24 have occurred. [Citation.] A violation may be found to have

    25 occurred if the person engaged in the conduct described in the

    26 statute. [Citations.] While section 496(a) covers a spectrum of

    27 impermissible activity relating to stolen property, the elements

    28 required to show a violation of section 496(a) are simply that (i)

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     1 property was stolen or obtained in a manner constituting theft, (ii)

     2 the defendant knew the property was so stolen or obtained, and

     3 (iii) the defendant received or had possession of the stolen

     4 property.” Id. at 126-128, 130.

     5            D.       Defendants’ Reliance Argument has no Merit
     6            Defendants’ reliance argument is incorrect. (Doc. 16, 14:20-
     7 24, 15:1-3.)

     8            First, as the authorities in the preceding section show,
     9 reliance is not one of the three elements required to assert a claim

    10 of civil theft. Further, “[t]he crime of theft by false pretenses is

    11 complete when, by means of such false pretenses, the fraud

    12 intended is consummated by obtaining the property sought . . . .”

    13 People v. Brady (1969) 275 Cal.App.2d 984, 995. Here, the fraud

    14 intended was to obtain money unlawfully by violating the ARL

    15 and the fraud was complete when Hall’s account was debited.

    16            Second, as explained in People v. Wooten, 44 Cal.App.4th
    17 1834, 1843 (1996) (MTD p. 14:22-23), “[r]eliance may be inferred

    18 from all the circumstances” and as further explained in People v.

    19 Randono, 32 Cal.App.3d 164, 174 (1973), the false pretense may

    20 consist of any act, word, symbol, or token calculated and

    21 intended to deceive. It may be either express or implied from

    22 words or conduct. [Citations.]

    23            Third, defendants misunderstand Hall’s claim. Defendants
    24 argue that “Hall fails to allege that she would not have purchased

    25 the magazine if defendants had not violated the requirements of

    26 the ARL. This is fatal to her claim.” (MTD p. 14:23-24, 15:1.)

    27 ///

    28 ///

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     1            Defendants are mixing apples and oranges. Hall wanted the
     2 subscription to People Magazine. That is why she ordered it and

     3 allowed defendants to debit her account for $40. Hall’s claim is

     4 not based on the initial subscription for $40. Hall’s claim is

     5 based upon the unlawful automatic renewal perpetrated through

     6 the initial subscription agreement.

     7            As pled, Hall plausibly alleges that defendants obtained her
     8 property in a “manner constituting theft” under section 496(a) as

     9 the term theft is ordinarily understood and as the term is

    10 described in Penal Code section 484.

    11            Here, the complaint alleges a scheme based on the
    12 defendants’ omission of a request for the consumer’s consent to

    13 an automatic renewal coupled with the defendants’ knowledge

    14 (also undisclosed to the consumer) that defendants could not

    15 lawfully debit the consumer’s account for the automatic renewal.

    16            It can be reasonably be inferred that consumers relied on
    17 defendants’ false representations when defendants refused to

    18 provide a full refund upon cancellation and it can reasonably be

    19 inferred that when consumers hit the “submit order” button, they

    20 were relying upon defendants’ representation that they were

    21 ordering only the initial subscription because, immediately above

    22 the submit order button, the defendants offer says, in bold print,

    23 “REVIEW YOUR ORDER: 40 Issues of PEOPLE (Print) $40.00.”

    24 Nowhere does the defendants’ offer say that by submitting your

    25 order you are also ordering or agreeing to an automatic renewal.

    26            Further, with respect to the omission of the request for
    27 consent, as explained in Daniel v. Ford Motor Co. 806 F.3d 1217,

    28 1225 (9th Cir. 2015) “[t]hat one would have behaved differently

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     1 can be presumed, or at least inferred, when the omission is

     2 material.” Here, the defendants’ offer was unlawful and therefore

     3 certainly material.

     4            E.       Hall’s Penal Code Claim Can also be prosecuted as
     5                     Larceny.
     6            Penal Code 496 is a theft statute which includes not only
     7 theft by false pretense but also theft by larceny or embezzlement.

     8            Here, Hall can assert a claim of theft based on larceny as
     9 well as theft by false pretenses.

    10            Hall acknowledges that her second cause of action is styled
    11 as a claim for theft by false and fraudulent representations or

    12 pretense. Compl. p. 13:20-21.

    13            However, the “theory of the pleadings” doctrine (under which
    14 a plaintiff must succeed on theories pleaded in the complaint, or

    15 not at all) has been abolished by the Federal Rules. The Federal

    16 Rules “do not countenance dismissal of a complaint for imperfect

    17 statement of the legal theory supporting the claim asserted.”

    18 Johnson v. City of Shelby, Miss. (2014) 135 S.Ct. 346 (per

    19 curiam). “The [defendant’s] assumption that, under the Federal

    20 Rules of Civil Procedure, summary judgment should be entered

    21 against a plaintiff simply because the plaintiff’s lawyer has

    22 misconceived the proper legal theory of the claim at the pleadings

    23 stage, even if the plaintiff is entitled to relief on some other legal

    24 theory, we disagree with that assumption.” Crull v. Gem Ins. Co.

    25 58 F.3d 1386, 1391 (9th Cir. 1995).

    26            “Theft, of which [appellant] was convicted, is the unlawful
    27 taking of another’s property. (§ 484; [citation].) The crime

    28 includes larceny, embezzlement, larceny by trick, and theft by

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     1 false pretenses. [Citations, fn. omitted.] Larceny, larceny by

     2 trick, and embezzlement involve taking another’s personal

     3 property from the owner’s possession, without the owner’s

     4 consent, with the intent to deprive the owner permanently of the

     5 property. [Citations.] Theft by false pretenses does not require

     6 that the defendant take the property; it requires that the

     7 defendant use false pretenses to induce the other to give the

     8 property to him. [Citation.]” People v. Shannon (1998) 66

     9 Cal.App.4th 649, 653-654.

    10            Here, defendants did not obtain Hall’s lawful consent to take
    11 her money and a claim for larceny provides additional support for

    12 her claim under the theft statute. People v. Edwards (1925) 72

    13 Cal.App.102, 114-115 [conversion of money tantamount to

    14 asportation]; People v. Davis 19 Cal.4th 301, 307 (1998) [“intent to

    15 steal for conviction of larceny is an intent to deprive the owner

    16 permanently of possession of the property.”] People v. Kaufman

    17 17 Cal.App.5th 370, 382-383 (2017) [“’The taking of money can

    18 constitute larceny’ [citation].”

    19            F.       Defendants’ argument that Hall’s claim has not
    20                     been pled with particularity has no merit.
    21            Rule 9(b) requires a party alleging fraud to “state with
    22 particularity the circumstances constituting fraud.” Fed. R. Civ.

    23 P. 9(b). To plead fraud with particularly, the pleader must state

    24 the time, place, and specific content of the false representations.

    25 Odom v. Microsoft Corp., 486 F.3d 541, 553 (9th Cir. 2007). The

    26 allegations “must set forth more than the neutral facts necessary

    27 to identify the transaction. The plaintiff must set forth what is

    28 false or misleading about a statement, and why it is false.” Vess.

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     1 V. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003)

     2 (internal quotation marks omitted). In essence, the defendant

     3 must be able to prepare an adequate answer to the allegations of

     4 fraud. Odom, 486 F.3d at 553.

     5            Defendants argue that “fraud must be accompanied by the
     6 who, when, where and how of the misconduct charged. [Citation.]

     7 Hall makes no such allegations here.” (MTD p. 15:7-11.)

     8            The argument has no merit.
     9            Hall has alleged how the defendants market the
    10 subscription, the role of each defendant, when the subscriptions

    11 were marketed to Hall, where they were marketed (California) and

    12 why the automatic renewals, account debitures, and pretense

    13 that the money is a lawful debt and in some cases the defendants’

    14 refusal to return the money constitutes unlawful conduct. Based

    15 on these allegations and defendants’ knowledge of their own

    16 product, they are able “to prepare an adequate answer.”

    17            V.       HALL’S CONVERSION CLAIM IS PLAUSIBLE.
    18            Defendants argue that Hall’s conversion claim fails because
    19 the defendants did not violate the ARL and “[f]urther, plaintiff’s

    20 consent to the transfer at issue defeats a claim for conversion.”

    21 (MTD p. 15:19-23.)

    22            The argument lacks merit because Hall never consented to
    23 the automatic renewal and she therefore never consented to the

    24 withdrawal of funds from her bank account as part of the

    25 defendants’ automatic renewal program. As previously argued,

    26 there was no “request for consent” or “affirmative consent” as

    27 required by the ARL and, therefore, Hall did not consent to the

    28 withdrawal of her funds. As explained in Tavernier v. Maes, 242

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     1 Cal.App.2d 532, 552 (1966), consent is not a defense to a claim

     2 for conversion unless it is a “lawful consent.” Here, there was no

     3 lawful consent.

     4            Defendants also argue that Hall never requested the return
     5 of her money but defendants ignore the fact that Hall did not

     6 need to demand the return of her money because the

     7 subscriptions were an unconditional gift for which no money was

     8 owed. Further, “A demand for return of property is not a

     9 condition precedent to institution of the action when the property

    10 was originally acquired by a tort . . . .” Igauge v. Howard, 114

    11 Cal.App.2d 122, 127 (1952).

    12            As explained in Price v. Synapse Group, Inc. No. 16-cv-
    13 01524-BAS-BLM 2017 WL 3131700 at *9 (S.D. Cal. July 24,

    14 2017), a claim for conversion exists in an ARL case when, as here,

    15 a plaintiff alleges a “wrongful disposition of money” from their

    16 “accounts.”

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     1 VI.        LEAVE TO AMEND IS REQUESTED
     2            Hall contends her claims are adequately pled and plausible.
     3 If not, she requests leave to amend.

     4            As a general rule, a court should freely give leave to amend a
     5 complaint that has been dismissed. Fed. R. Civ. P. 15(a). But a

     6 court may deny leave to amend when “the court determines that

     7 the allegation of other facts consistent with the challenged

     8 pleading could not possibly cure the deficiency.” Schreiber

     9 Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th

    10 Cir. 1986).

    11

    12 DATED: June 7, 2019                              CARROLL, KELLY, TROTTER,
    13                                                  FRANZEN, McBRIDE & PEABODY

    14

    15
                                                        By:
                                                          MICHAEL TROTTER
    16                                                    DAVID P. PRUETT
    17                                                    Attorneys for Plaintiff,
                                                          LINDA HALL, individually and
    18                                                    behalf of all others similarly situated
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     1                                             PROOF OF SERVICE
     2
                       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:
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              I am employed in the County of Los Angeles, State of California. I am
     4
       over the age of 18 and not a party to the within action. My business address is
     5 Post Office Box 22636, Long Beach, CA 90801-5636. On           2019, I served a
       true and correct copy of the following document on the attached list of interested
     6
       parties:
     7
                   PLAINTIFF’S OPPOSITION TO TIME, INC.’S AND MEREDITH
     8             CORP.’S MOTION TO DISMISS CLASS ACTION COMPLAINT
     9
         ☐        By United States Mail (CCP §§1013a, et seq.): I enclosed said
    10            document(s) in a sealed envelope or package to each addressee. I placed
    11            the envelope for collection and mailing, following our ordinary business
                  practices. I am readily familiar with the firm’s practice for collecting and
    12            processing correspondence for mailing. On the same day that
    13            correspondence is placed for collection and mailing, it is deposited in the
                  ordinary course of business with the United States Postal Service, with
    14            postage fully prepaid.
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    16            enclosed said document(s) in a sealed envelope or package provided by an
    17            overnight delivery carrier to each addressee. I placed the envelope or
                  package, delivery fees paid for, for collection and overnight delivery at an
    18            office or at a regularly utilized drop box maintained by the express service
    19            carrier at 111 West Ocean Boulevard, Long Beach, California.

    20 XX         By Electronic Transmission: I caused the document(s) to be sent from e-
    21
                  mail address ocalder@cktfmlaw.com to each addressee’s email address as
                  set forth on the above service list. I did not receive, within a reasonable
    22            time after the transmission, any electronic message or other indication that
    23
                  the transmission was unsuccessful.

    24         I declare under penalty of perjury under the laws of the State of California
         and of the United States that the foregoing is true and correct.
    25

    26
                  Executed on , 2019, at Long Beach, California.

    27
                                                              /s/ Ofelia I. Calder
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                                                             OFELIA I. CALDER
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     1
                                            Proof of Service Mailing List
         Re: Hall v. Time, Inc., et al.
     2
         Case No.: 8:19-cv-1153-AG-ADs
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